
697 N.W.2d 155 (2005)
472 Mich. 909-924
MITCHELL CORP. OF OWOSSO
v.
DEPARTMENT OF CONSUMER AND INDUSTRY SERVICES, BUREAU OF WORKERS AND UNEMPLOYMENT COMPENSATION.
No. 126944.
Supreme Court of Michigan.
June 2, 2005.
SC: 126944, COA: 248321.
On order of the Court, the application for leave to appeal the August 12, 2004 judgment of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the questions presented should be reviewed by this Court.
CAVANAGH and KELLY, JJ., would grant leave to appeal.
